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                IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

DAVID WEBB, Reg. No. 15813-104,             )
                                            )
      Petitioner,                           )
                                            )      CIVIL ACTION NO.
      v.                                    )      2:19-CV-1081-WHA
                                            )            [WO]
UNITED STATES OF AMERICA,                   )
                                            )
      Respondent.                           )

                                    ORDER

      On January 30, 2020, the Magistrate Judge filed a Recommendation to which

no timely objections have been filed. (Doc. # 4.) Upon an independent review of

the record and upon consideration of the Recommendation, it is ORDERED that the

Recommendation is ADOPTED and this case is DISMISSED for lack of

jurisdiction.

      A separate final judgment will be entered.

      DONE this 19th day of February, 2020.


                           /s/ W. Harold Albritton
                         SENIOR UNITED STATES DISTRICT JUDGE
